IN THE UNITED STATES DISTRICT COURT he. &y
FOR THE EASTERN DISTRICT OF NORTH CAROLINA, “<@
EASTERN DIVISION Us Ow
NO. 4:00-CV-127-H(4) Eon

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DOMESTIC FABRICS CORPORATION, “Oth

Plaintiff,

MEMORANDUM
and
RECOMMENDATION

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Vv. )
)
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SEARS, ROEBUCK & CO., )
)

Defendant. )

)

In this patent infringement action, wherein plaintiff alleges
defendant has infringed its U.S. PATENT NO. 5,636,533 ("the '533
patent"), numerous motions within the ambit of the district court's
referral remain upon the docket, including: (1) plaintiff's motion
for summary judgment filed June 28, 2002; (2) motion of plaintiff
to strike, challenging the admissibility of certain evidentiary
materials submitted in opposition to its summary judgment motion
and, therefore, the propriety of the defendant's response to its
motion which relies upon these declarations and exhibits, filed
August 16, 2002; and (3) defendant's motion for entry of final
judgment on liability and to stay consideration of damages
(including willfulness) pending appeal under 28 U.S.C. 1292(c) (2),
filed October 29, 2002. Responses have been made, replies
received, including most recently that reply filed December 6, 2002
by defendant to plaintiff's response to its motion for entry of

final judgment on liability. The court now takes the matter up in

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accordance with prior order of referral.
I. STATEMENT OF THE CASE
This case came previously before the undersigned upon order of
the Hon. Malcolm J. Howard, United States District Judge, entered
November 15, 2001, for hearing and submission to the court of
recommendation for disposition as to the disputed terms and claims

of the patent at issue, in accordance with Markman v. Westview

Instruments, Inc., wherein the United States Supreme Court

unanimously affirmed the Federal Circuit's en banc ruling that
claim interpretation is exclusively within the province of the
court. 517 U.S. 370, 391, 116 S.Ct. 1384, 1396 (1996), aff'gq 52
F.3d 967, 979 (Fed. Cir. 1995). The earlier memorandum and
recommendation contains a detailed statement of the background of
the case, and I rely upon that prior recitation also in this
instance, where the matter renews itself pursuant to Judge
Howard's order entered May 22, 2002. In that order, over objection
of defendant, the court adopted the undersigned's memorandum and
recommendation filed March 4, 2002, finding that:

[T]he '533 patent is for a composite, double knit fabric
having two layers, referred to as the "inner layer" and

the “outer layer", which are terms of reference to
distinguish the two layers of fabric. The term “inner
layer" refers to the layer of the fabric with the air
pockets. The term “outer layer" refers to the layer

opposite the inner layer. The term "air pockets" as used
in the '533 patent means voids.

May 22, 2002 Order. In the order, the court referred summary

judgment motions submitted in the case then pending and/or to be

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filed, to the undersigned, for memorandum and recommendation, on
the issue of patent infringement.

Advancing its contention that the question of infringement
turns upon the question of claims interpretation, defendant had
moved for summary judgment of noninfringement on July 20, 2001,
upon its interpretation of the claims argued to the court in
briefing requested in furtherance of the Markman determination.
Subsequent to determination of the claims in favor of the position
espoused by plaintiff in the case, plaintiff filed its motion for
summary Judgment on June 28, 2002, together with supporting
memorandum and numerous evidentiary materials, including
Stipulation of defendant that based upon the court's order on
claims construction, garments sold by defendant under the labels

"Canyon River Blues," "Trader Bay," and "Classic Elements" infringe
the '533 patent.

Defendant reframed in that stipulation its defensive position
also by abandoning its fourth affirmative defense of unclean hands.
However, it renewed its second affirmative defense of laches and
estoppel, asserting that prosecution delays unfairly prejudiced it,

and its third affirmative defense, asserting the invalidity of the

"533 patent for failure to comply with requirements of 35 U.S.C.

112. Defendant also separately responded in opposition to the
motion for summary judgment, submitting numerous evidentiary
materials, including affidavits of Carol McCormick, Paul C.

Miltonberger, and William H. Baker. These affidavits, together with

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Exhibits N, O, QO, R, S, V, AA, CC, DD, and EE to defendant's
response to plaintiff's motion for summary judgment, and the
response itself, are the subject of a separate motion by plaintiff
to strike, challenging the admissibility of the evidentiary
materials and, therefore, the propriety of the response which
relies upon these declarations and exhibits. Approximately one
month after the close of the briefing, defendant filed a document
entitled "Confirming Stipulation of Sears, Roebuck and Co. to
Withdrawal of Affirmative Defenses of MLaches/Estoppel and
Invalidity." Herein, defendant narrows the issues further, and
affirmatively stipulates through counsel "to the withdrawal also of
its Second Affirmative Defense premised upon laches and estoppel,
and its Third Affirmative Defense, contesting the validity of the
'533 patent. Defendant also filed October 29, 2002 that motion
previously noted, captioned "Sears Motion to Enter Final Judgment
on Liability and to Stay Consideration of Damages (Including
Willfulness) Pending Appeal Under 28 U.S.C. 1292(c) (2)," together
with supporting memorandum, to which plaintiff has responded and
reply made December 6, 2002.
II. COURT'S DISCUSSION

Victory in a patent infringement action requires a finding
that the patent claim covers the alleged infringer's product or
process which, in turn, necessitates a determination of what the

words in the claims mean. Markman, 517 U.S. 370, 374, 116 S.Ct.

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1384, 1388. Therefore, the first step in an infringement analysis
involves construing the meaning and scope of the patent claims
asserted to be infringed. Markman, 52 F.3d at 976; Smith

Industries Medical Systems, Inc. v. Vital Signs, Inc., 183 F.3d

1347, 1353 (Fed. Cir. 1999). Claims construction presents a

question of law. Pitney Bowes, Inc. v. Hewlett~Packard Co., 182

F.3d 1298, 1304 (Fed. Cir. 1999), citing Markman, 52 F.3d 967, 979,
aff'd 517 U.S. 370, 116 S.Ct. 1384. That question of law put
forward to the court having been answered in the case, where the
undersigned eschewed defendant's interpretation seeking to
transform the invention from a fabric into a garment, the issue of
infringement now is presented. Defendant has stipulated that under
the court’s construction of the ‘533 patent, its current use of
plaintiff's fabric in the "Canyon River Blues," "Trader Bay," and
"Classic Elements" lines of clothing constitutes infringement.
Therefore, the substantive determinations pending before the
court are as follows: (1) whether defendant’s infringement was
wilful; (2) the amount of reasonable royalties due plaintiff; and
(3) the admissibility of defendant’s proffered evidence submitted
in opposition to plaintiff’s motion for summary judgment.
Defendant contends, and this court agrees, that the pending
substantive matters all hinge on this court’s construction of the
‘533 patent. Recognizing the significance of this determination,
defendant requests that the court stay determination of these final

issues in favor of granting interlocutory appeal of the issue of

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patent construction pursuant to 28 U.S.C. § 1292(c) (2).
Title 28 U.S.C 1292(c)provides in pertinent part:

(c) The United States Court of Appeals for the
Federal Circuit shall have exclusive
Jurisdiction--
(1) of an appeal from an interlocutory order
or decree described in subsection (a) or (b)
of this section in any case over which the
court would have jurisdiction of an appeal
under section 1295 of this title; and
(2) of an appeal from a judgment in a civil
action for patent infringement which would
otherwise be appealable to the United States
Court of Appeals for the Federal Circuit and
is final except for an accounting.

The court finds that all the remaining matters, including the
determination of wilfulness, speak solely to the scope of damages
and are distinct from the issue of liability, making this case

ideal for interlocutory appeal. In Mendenhall v,. Barber~Greene

Co., the Federal Circuit explicitly held that the purpose of §
1292 (c) (2) is to allow district courts to stay determination of
damages in favor of allowing interlocutory appeals of patent
construction and infringement determinations. See 26 F.3d 1573,
1581 (Fed. Cir. 1994). Furthermore, the decision of whether to
stay or proceed with the determination of damages pending such an
appeal is within sound discretion of the district court. See Tate

Access Floors, Inc. v. Interface Architectural Res., Inc., 35 Fed.

Appx. 884, 884-85 (Fed. Cir. 2002). This court concludes that
certification of the issue of liability, specifically patent

construction, for interlocutory appeal is proper, primarily in

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order to conserve judicial resources which would inevitably be
squandered should the Federal Circuit construe the ‘533 patent
under defendant’s analysis as a garment patent as opposed to a
patent upon a fabric.

III. CONCLUSION

Therefore, the undersigned recommends that the court GRANT
olaintiff’s motion for summary judgment, filed on June 28, 2002,
finding solely that defendant has infringed plaintiff’s ‘533
patent.

Furthermore, to the extent defendant's motion for summary
judgment remains pending on the court's docket, where defendant's
claims interpretation was subsequently rejected by the court's May
22, 2002 order, the same should be denied as MOOT.

It also is recommended that defendant's motion for entry of
final judgment filed October 29, 2002, should be GRANTED.
Specifically, the undersigned recommends that the court enter final
judgment as to defendant’s liability/infringement, and stay
consideration of the scope of damages (including willfulness) and
olaintiff’s motion to strike, pending appeal under 28 U.S.C. §
1292(c) (2) to the Federal Circuit Court.

SO RECOMMENDED, this 3% day of February, 2003.

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1s W. FLANAGAN <>
Unitéd States Magistrate Judge

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